-03635 Document #: 1-1 Filed: 07/09/21 Page 1 of 14 PagelD #:4

Case: 1:21-cv

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Delaware.gov Governor | General Assembly | Courts | Elected Offictals | State Agencles

 

Department of State: Division of Corporations

 

HOME Entity Details

 

THIS IS NOT A STATEMENT OF GOOD STANDING

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Entity Name: SCHNEIDER NATIONAL CARRIERS, INC.

Entity Kind: Corporation Entity Type: General
Residency: Foreign State: NEVADA

_ REGISTERED AGENT INFORMATION

Name: THE CORPORATION TRUST COMPANY

Address: CORPORATION TRUST CENTER 1209 ORANGE ST
City: WILMINGTON County: New Castle
State: DE Postal Code: 19801

Phone: 302-658-7581

Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
more detailed information including current franchise tax assessment, current filing history
and more for a fee of $20.00.

Would you like © Status © Status,Tax & History Information

Submit
View Search Results

For help on a particular field click on the Field Tag to take you to the help area.
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DEFENDANT’S
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Company Snapshot
SCHNEIDER NATIONAL CARRIERS INC

 

 

Search USDOT Number: 264184

ID/Operations | Inspections/Crashes In US | Inspections/Crashes In Canada | Safety Rating 4
Other Information for this |

Carriers: If you would like to update the following ID/Operations information, please complete and submit form MCS-150 which can | Carrler i
be obtained online or from your State FMCSA office. If you would like to challenge the accuracy of your company's safety data, you :
can do so using FMCSA's DataQs system. ¥ SMS Results
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Carrier and other users: FMCSA provides the Company Safety Profile (CSP) to motor carriers and the general public interested in
obtaining greater detail on a particular motor carrier's safety performance then what is captured in the Company Snapshot. To obtain a CSP please visit the CSP
order page or call (800)832-5660 or (703)280-4001 (Fee Required).

For help on the explanation of individual data fields, click on any field name or for help of a general nature go to SAFER General Help.
The information below reflects the content of the FACSA management information systems as of 07/08/2021.

To find out if this entity has a pending insurance cancellation, please click here.

grocers

Entity Type; | CARRIER/CARGO TANK/BROKER }

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Operating Status; | AUTHORIZED I Qut of Service Date: | None |
Legal Name: | SCHNEIDER NATIONAL CARRIERS INC '
DBA Name:

Physical Address; 3101 S PACKERLAND DR
| GREEN BAY, Wi 54313

Phone: | (800) 558-6767

Malling Address: | PO BOX 2545
| GREEN BAY, WI 54306-2545

 

USDOT Number: 264184 | State Carrier ID Number: |
MCI/MX/FF Number(s): | MC-133655 | DUNS Number: | 15-730-4676
:
Power Units: | 10,884 Drivers: | 12,239

MGS-150 Form Date: | 94/19/2021 MCS-150 Mileage (Year): | 1,100,158,928 (2020)

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Metal: sheets, coils, rolls Passengers X Refrigerated Food
Motor Vehicles Oilfield Equipment X Beverages
Drive/Tow away Livestock X Paper Products
x Logs, Poles, Beams, Grain, Feed, Hay Utilities
Lumber Coal/Coke Agricultural/Farm
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DEFENDANT’S
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Case: 1:21-cv-03635 Document #: 1-1 Filed: 07/09/21 Page 5 of 14 PageID #:8

2120 - Served 2121 - Served 2620 - Sec. of State
2220 - Not Served 2221 - Not Served 2621 - Alias Sec of State
2320 - Served By Mail 2321 - Served By Mail

2420 - Served By Publication 2421 - Served By Publication
Summons - Alias Summons

 

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

Name all Parties

Jorge Gonzalez,

 

 

Plaintiff(s)
* 2021L005597
. , Case No.
Grant Gleason, and Schneider National
Carriers, Inc.,
Defendant(s)

See Service List Below.

 

Address of Defendant(s)
Please serve as follows (check one): ©: Certified Mail “® Sheriff Service “ Alias
SUMMONS

 

To each Defendant:

You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
You are summoned and required to file your appearance, in the office of the clerk of this court,
within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
judgment by default may be entered against you for the relief asked in the complaint.
THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
COURTHOUSE. You will need: 2 computer with internet access; an email address; a completed
Appearance form that can be found at http: //wwrwillinoiscourts.gov/Forms/approved/ procedures /
appearance.asp; and a credit card to pay any required fees.

Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
cookcountyclerkofcourt.org
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Case: 1:21-cv-03635 Document #: 1-1 Filed: 07/09/21 Page 6 of 14 PageID #:9

Summons - Alias Summons

 

 

E-filing is now mandatory with limited exemptions. To e-file, you must fitst create an account with an e-filing
service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a service
provider.

If you need additional help or have trouble e-filing, visit http://wwwillinoiscourts.gov/faq/gethelp.asp or talk with
your local circuit clerk’s office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
person or by mail, Ask your circuit clerk for more information ot visit www.llinoislegalaid.org.

If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
illinoislegalaid.org. You can also ask your local circuit clerk’s office for a fee waiver application.

Please call or email the appropriate clerk’s office location (on Page 3 of this summons) to get your court hearing

date AND for information whether your heating will be held by video conference ot by telephone. The Clerk’s

office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.

NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
appearance by. You may file your appearance form by efiling unless you are exempted.

A court date will be set in the future and you will be notified by ernail (either to the email address that you used to
register for efiling, or that you provided to the clerk’s office),

CONTACT THE CLERK’S OFFICE for information regatding COURT DATES by visiting our website:
cookcountyclerkofcourt.org; download out mobile app from the AppStore or Google play, or contact the
appropriate clerk’s office location listed on Page 3.

To the officer: (Sheriff Service)

This summons must be returned by the officer or other person to whom it was given for service, with endotsement
of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
endorsed. This summons may not be served later than thirty (30) days after its date.

Ci Atty. No. 58144
© Pro Se 99500
Abraham T. Matthew

Witness date

 

 

 

 

 

 

 

 

Name:
Atty. for (if applicable): IRIS Y. MARTINEZ, Clerk of Cour’
Plaintiff(s) [J Service by Certified Mail:
Address: 1200 W. 35th St. Ste. 5550 C Date of Service:

Chicago (To be inserted by officer on copy left with employer or other person)
City:
. IL , 60609
State: Zip:

312) 709-1899

Telephone: 612)

 

attorneys@mdlawchicago.com
Primary Email: °y @ 8

 
FILED DATE: 4/21/2021 3:24 PM 2021L002697

Case: 1:21-cv-03635 Document #: 1-1 Filed: 07/09/21 Page 7 of 14 PagelD #:10

GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the

appropriate division, district or department to request your next coutt date. Email your case number, or, if you do
not have your case number, email the Plaintiff or Defendant’s name for civil case types, or the Defendant's name

and birthdate for a criminal case.

CHANCERY DIVISION
Court date EMAIL: ChanCourtDate@cookcountycourt.com
Gen. Info: (312) 603-5133

CIVIL DIVISION

Court date EMAIL: CivCourtDate@cookcounrycourt.com
Gen. Info; (312) 603-5116

COUNTY DIVISION

Court date EMAIL: CatyCouctDate@cookcounrycourt.com
Gen. Info: (312) 603-5710

DOMESTIC RELATIONS/CHILD SUPPORT
DIVISION
Court date EMAIL: DRCourtDate@cookcounrycourt.com
OR
ChildSupCourtDate@cookcountycourt.com

(312) 603-6300
DOMESTIC VIOLENCE

Court date EMAIL: DVCourtDate@cookcountycourt.com
Gen. Info: (312) 325-9500

LAW DIVISION
Court date EMAIL: LawCourtDate@cookcountycourt.com

Gen. Info: (312) 603-5426
PROBATE DIVISION

Court date EMAIL: ProbCourtDate@cookcounrycourt.com
Gen. Info: (312) 603-6441

Gen. Info:

ALL SUBURBAN CASE TYPES
DISTRICT 2 - SKOKIE

Court date EMAIL: D2CourtDatre@cookcountycourt.com
Gen. Info: (847) 470-7250

DISTRICT 3 - ROLLING MEADOWS
Court date EMAIL: D3CourtDate@cookcountycourt.com
Gen. Info: (847) 818-3000

DISTRICT 4 - MAYWOOD
Court date EMAIL: D4CourtDate@cookcountycourt.com
Gen. Info: (708) 865-6040

DISTRICT 5 - BRIDGEVIEW
Court date EMAIL: D5CourtDate@cookcountycourt.com
Gen. Info: (708) 974-6500
DISTRICT 6 - MARKHAM
Court date EMAIL: D6CourtDate@cookcountycourt.com
Gen. Info: (708) 232-4551

Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois

cookcountyclerkofcourt.org
Page 3 uf 3
Case: 1:21-cv-03635 Document #: 1-1 Filed: 07/09/21 Page 8 of 14 PageID #:11

Service List

Grant Gleason
2555 E Crais Ct.,
De Pere, WI, 54115

Agent of Schneider National Carriers
CT Corporation System

208 S LaSalle St, Suite 814,

Chicago, IL, 60604
Case: 1:21-cv-03635 Document #: 1-1 Filed: 07/09/21 Page 9 of 14 PageID #:12

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6/1/2021 3:28 PM

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS CIRCUIP CLERK
COUNTY DEPARTMENT, LAW DIVISION COOK COUNTY. IL

2021L005597
Jorge Gonzalez,

PLAINTIFF(s),
Vs. CaseNo, 2021L005597
Grant Gleason, and Schneider National

Carriers, Ine.
DEFENDANT(s).

PLAINTIFFS’ COMPLAINT AT LAW
NOW COMES the Plaintiff, Jorge Gonzalez, through their attomey, Matthew and
Drnovsek Law LLC, and complaining of the Defendants, Grant Gleason and Schneider National
Carriers, Inc., and alleges as follows:

1, That on June 1, 2019 at approximately 6:35 p.m., the Plaintiff, Jorge Gonzalez, was the
operator of a motor vehicle, one Toyota Corolla, and was travelling westbound on 79th Street, at
or near its intersection with Nashville Avenue, in Chicago, County of Cook, State of Illinois.

2. That at the aforesaid date, time, and place, Defendant Grant Gleason, was the operator of
a 2019 Freightliner, travelling westbound on 79th Street, at or near its intersection with Nashville
Avenue, in Chicago, County of Cook, State of Illinois.

3. That at the aforesaid date, time, and place, the aforementioned 2019 Freightliner was
travelling in the left lane of westbound 79th Street.

4, That at the aforesaid date, time, and place, the aforementioned Toyota Corolla was
travelling in the right lane of westbound 79th Street.

5. That at all times relevant hereto, the 2019 Freightliner was owned by Defendant

Schneider National Carriers, Inc..
Case: 1:21-cv-03635 Document #: 1-1 Filed: 07/09/21 Page 10 of 14 PagelID #:13

6. That at all times relevant hereto, Defendant Gleason was employed by the Defendant
Schneider National Carriers, Inc..
7. That as Plaintiff was traveling westbound on 79th Strect, Defendant merged from the left
lane to the right lane.
8. That at the aforesaid date, time, and place, a collision occurred between the vehicle the
Plaintiff was operating and the vehicle operated by Defendant Gleason.
9. That when the aforesaid collision occurred, Plaintiff was wholly within the right lane of
travel.
COUNT I - Grant Gleason
10. That at all times material hereto, it was the duty of the Defendant Gleason in the
operation of the motor vehicle, to exercise reasonable care and caution for the safety of the
Plaintiff.
11, That the Defendant Gleason, in breach of their duty aforesaid, was then and there guilty
of one or more of the following careless and negligent acts and/or omissions:
a. Drove said vehicle at a speed which was greater than reasonable and
proper, in violation of 625 ILCS 5/11-601.
b. Drove said vehicle without brakes adequate to control its movement, and
to stop and hold it, in violation of 625 ILCS 5/12-301.
c. Failed to decrease the speed of said vehicle when approaching or crossing
an intersection.
d. Failed to sound the horn on said vehicle so as to give warning of its

approach.

e. Failed to stop said vehicle in time to avoid said collision, although
Case: 1:21-cv-03635 Document #: 1-1 Filed: 07/09/21 Page 11 of 14 PagelD #:14

Defendants saw, or should have seen, that it was impending and had ample
time and opportunity to avoid it.

f. Failed to maintain a proper lookout for other vehicles.

g. Failed to keep the vehicle under control.

h. Failed to properly maintain their vehicle, including, but not limited to the
tires and brakes of their vehicle.

i. Failed to exercise the duty of care owed to Plaintiff and the public in the
operation of the vehicle.

j. Failed to observe vehicles in other lanes when changing lanes;

k. Otherwise negligently operated said motor vehicle.

12. That the aforesaid careless and negligent acts and/or omissions of the Defendant Gleason
were a proximate cause of said collision and Plaintiff's personal injuries as hereinafter
mentioned.

13. That as a direct and proximate result of one or more of the aforesaid careless and
negligent acts and/or omissions of the Defendant Gleason, the Plaintiff then and there sustained
severe and permanent injuries and was and will be hindered and prevented from attending to his
usual duties and affairs of life, and has lost, and wiil lose, the value of that time as
aforementioned. Further, Plaintiff suffered great pain and anguish, both in mind and body, and
will, in the future, continue to suffer, Plaintiff further expended and became liable for, and will
expend and become liable for, large sums of money for medical care and services endeavoring to
become healed and cured of said injuries.

WHEREFORE, Plaintiff, Jorge Gonzalez, demands judgment against the Defendants in an

amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00) and the costs of suit.
Case: 1:21-cv-03635 Document #: 1-1 Filed: 07/09/21 Page 12 of 14 PagelD #:15

COUNT II - Schneider National Carriers, Inc. - Respondeat Superior
14. That at the time of the collision, the Defendant, Gleason, was operating a motor vehicle
within the scope of his employment, under the control of, and in the capacity of agent of

Defendant Schneider National Carriers, Inc..

15. That by reason of said agency, Defendant Schneider National Carriers, Inc. is liable for

the injuries and damages sustained by the Plaintiff.
WHEREFORE, Plaintiff, Jorge Gonzalez, demands judgment against the Defendants in an

amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00) and the costs of suit.

BY:  /s/_ Abraham T. Matthew
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Case: 1:21-cv-03635 Document #: 1-1 Filed: 07/09/21 Page 13 of 14 PageID #:16

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

Jorge Gonzalez,
PLAINTIFF(s),

Vs. CaseNo, 2021L005597

Grant Gleason, and Schneider National

Carriers, Inc.,
DEFENDANT(s).

 

FFIDAVIT P ANT TO SUPREME COURT RULE B

Pursuant to Supreme Court Rule 222 (B), counsel for the above-named plaintiff certifies
that Plaintiff seeks money damages in excess of Fifty Thousand and 00/100ths Dollars

($50,000).

BY:  /s/_ Abraham T. Matthew
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Case: 1:21-cv-03635 Document #: 1-1 Filed: 07/09/21 Page 14 of 14 PageID #:17

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